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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:18-CR-010 TLN DB

12                                 Plaintiff,
                                                          STIPULATION AND PROPOSED ORDER TO
13                          v.                            MODIFY TERMS OF SUPERVISED RELEASE

14   REGGIE PAJIMOLA,                                     DATE: March 15, 2018
                                                          COURT: Hon. Deborah Barnes
15                                Defendant.

16

17          The United States of America, through the undersigned Assistant U.S. Attorney, and counsel for

18 Reggie Pajimola hereby stipulate to the proposed temporary modification of the terms of Pretrial

19 Services supervision, and ask that the Court order the temporary modification. Pretrial Services has

20 reviewed the proposed conditions and defers to the Court’s judgment on whether to approve the

21 temporary modification. In support of the request and the proposed order, these parties represent the

22 following.

23          Mr. Pajimola is a defendant in Case No. 2:18-cr-010 TLN. Per an earlier order of this Court, he

24 is presently out of custody on terms of Pretrial Services supervision. Mr. Pajimola is in compliance with

25 the terms of his supervision; those terms generally limit his travel to the Eastern District of California.

26          Through his counsel, Mr. Pajimola has informed the Government that he would like to
27 accompany his wife on a trip to Guadalajara, Mexico, so that they can visit her ailing grandmother. The

28 Government does not object to the request. Accordingly, the parties request that the conditions of Mr.

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 1 Pajimola’s Pretrial Services supervision be temporarily modified as follows, to permit the travel:

 2      1. On April 6, 2018, Mr. Pajimola may travel with his wife on Aeromexico Flight 789 from

 3          Sacramento, California, to Guadalajara, Mexico.

 4      2. Mr. Pajimola may obtain his passport from Pretrial Services within 48 hours of his departure on

 5          April 6.

 6      3. From April 6 to April 13, Mr. Pajimola shall temporarily reside in Guadalajara. Specifically, he

 7          shall stay at the home of his wife’s aunt, at a specific residence within Guadalajara. The names

 8          of Mr. Pajimola’s wife and her aunt, and the location of the specific residence, shall be provided

 9          to Pretrial Services in advance of this trip. During the noted time period, Mr. Pajimola may not

10          reside at any location other than the specific residence provided to Pretrial Services, and he may

11          not travel outside the city of Guadalajara.

12      4. During the time period of April 6 through April 13, Pretrial Services shall be able to contact Mr.

13          Pajimola at phone numbers that he shall provide before departing.

14      5. On April 13, Mr. Pajimola shall return from Guadalajara to Sacramento, California, on

15          Aeromexico Flight 788. He shall surrender his passport to Pretrial Services within 24 hours of

16          his return.

17      6. During the time period that Mr. Pajimola is traveling, all other conditions of his Pretrial Services

18          supervision shall remain in effect as though he were present in the Eastern District of California.

19          For example, he may not commit any act that would constitute a violation of federal, state, or

20          local law in the Eastern District of California, and he must continue to abide by the Special

21          Conditions that were imposed by the Court.

22      7. Mr. Pajimola may make reasonable changes to his flight plans if unforeseen contingencies arise,

23          subject to the approval of the Pretrial Services Officer. For example, he may change flights on

24          the noted days of travel if excessive delays occur on the flights noted in this stipulation. Any

25          such changes must be approved by the Pretrial Services Officer in advance, if at all feasible; and

26          must be reported to the Pretrial Services Officer as soon as possible if they occur before she is

27          notified. Pretrial Services shall have the discretion to determine if Mr. Pajimola has made

28          reasonable alterations to his flight plans or has improperly deviated from the conditions set forth

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 1          in this stipulation.

 2      8. Upon Mr. Pajimola’s return to the Eastern District of California, all exceptions to the conditions

 3          of Pretrial Services supervision set forth in this stipulation shall lapse. The conditions previously

 4          imposed by the Court shall thereafter apply as if no temporary modification had occurred.

 5          The parties request that all other terms and conditions of supervision for Mr. Pajimola otherwise

 6 remain in full force and effect. See Dkt. No. 18, 2:18-cr-010 TLN. Further, nothing in this stipulation

 7 and proposed order affects any terms or conditions of any other person’s terms of supervision.

 8

 9 Dated: March 15, 2018                                      MCGREGOR W. SCOTT
                                                              United States Attorney
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11                                                   By: /s/ OWEN ROTH
                                                         OWEN ROTH
12                                                       Assistant United States Attorney
13 Dated: March 15, 2018
                                                     By: /s/
14                                                       CANDICE FIELDS
                                                         Counsel for Reggie Pajimola
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16
                                                      ORDER
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            The Court, having reviewed the aforementioned stipulation and finding that good cause has been
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     shown, orders the temporary modification of the conditions of Pretrial Services supervision applicable to
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     Reggie Pajimola, and adopts the proposed temporary conditions in the stipulation. All other terms and
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     conditions of release applicable to Mr. Pajimola (Dkt. No. 10, 2:18-cr-010 TLN) remain in effect.
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            SO ORDERED.
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     Dated: March 15, 2018
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